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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF OKLAHOMA

IN RE: BROILER CHICKEN GROWER
LITIGATION                                  No. 6:17-CV-00033-RJS



This Document Relates To All Cases          The Honorable Robert J. Shelby



DEFENDANTS’ JOINT MOTION TO DISMISS UNDER FEDERAL RULES OF CIVIL
 PROCEDURE 12(b)(2), (3), and (6) AND MEMORANDUM OF LAW IN SUPPORT
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                                       INTRODUCTION

       Plaintiffs attempt to dress up as violations of antitrust law their generalized dissatisfaction
with longstanding, transparent, and government-monitored practices in the chicken industry. To
do so, they allege a conspiracy among Defendants “not to compete for Broiler Grow-Out Services”
with the purpose and effect of keeping Grower compensation below competitive levels. (Dkt. 137
(“Compl.”) ¶ 1.) But what Plaintiffs are really doing is using the antitrust laws to punish
Defendants’ efforts to produce chickens as efficiently as possible.
       The purported “Scheme” Plaintiffs assert actually comprises two alleged agreements.
(E.g., Compl. ¶¶ 4, 138, 166.) First, Plaintiffs allege a supposed agreement among Defendants
                                                                               1
not to recruit or contract with Growers contracted by another Integrator.          (Compl. ¶¶ 3, 79.)
Second, Plaintiffs challenge as anticompetitive Defendants’ submitting cost information to Agri
Stats – an independent third party – for use in benchmarking reports. (Compl. ¶¶ 2, 66.) Neither
alleged agreement is sufficiently pled or plausible under Twombly. As set forth below, Plaintiffs’
allegations amount to little more than a description of the Grower-Integrator relationship, the
structure of the Broiler industry, and the benchmarking services used by Integrators to increase
efficiency and control their own costs. These allegations cannot establish Plaintiffs’ alleged
“Scheme” as a matter of law.
       “No Poaching” Agreement. Plaintiffs fail to plead any support for an agreement not to
“poach” (recruit or contract with) each other’s Growers. Instead, Plaintiffs offer only speculation.
Plaintiffs plead a handful of anecdotes, none of which names a specific Integrator, a specific
Grower, a specific time or place an agreement was made, or the geographic location of the
Integrators covered by such an agreement. None indicates that those involved in the anecdotes
had first-hand knowledge to support their stories. (Compl. ¶¶ 80–84.) Further, Plaintiffs concede
there is an obvious, alternative explanation why only limited switching might occur: Growers
invest significant amounts to meet Integrator-specific requirements. (E.g., id. ¶ 55.) This means
there are high switching costs for Growers to move to a new Integrator, which might have different
needs or specifications. Plaintiffs do not allege why it would be likely that Integrators would




1
    In the poultry industry, vertically integrated companies, like Defendants, are referred to as
    “Integrators.”


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attempt to poach each other’s growers given the Integrator-specific nature of the investments
alleged in the Complaint.
        On the other hand, Plaintiffs admit that Growers do switch Integrators. (Id. ¶ 86.) Indeed,
it is notable that not one of the named Plaintiffs pleads that he or she even attempted to switch
Integrators and was denied. Furthermore, Plaintiffs fail to plead even one instance where a
Defendant needing to increase production refused to consider hiring a competitor’s Grower. In
sum, Plaintiffs fail to allege the first agreement in their “Scheme.”
        Information-Sharing Agreement.            Plaintiffs’ claims that Defendants entered an
agreement to share information through Agri Stats also are wholly inadequate. Plaintiffs conflate
the individual agreements that Defendants have with Agri Stats to provide information and receive
reports with an agreement among the Defendants themselves, but Plaintiffs plead no support for
their dramatic extension. Alleging a plausible Sherman Act violation based on conduct so
obviously designed to increase production efficiency requires more than is offered by Plaintiffs.
Plaintiffs plead no specifics on when this supposed agreement among Defendants was made,
which Defendants made it, or how, over an alleged class period dating back to at least 2008, it
operated and was enforced. They also offer no circumstantial support from which an agreement
could be inferred. Without pleading these basics, Plaintiffs fail to plausibly allege, as they must,
the second agreement in the putative “Scheme.” Their claims fail for this reason alone.
        Plaintiffs’ information-exchange-based claims additionally fail because they are pled under
the wrong legal standard. They assert the “Scheme” is unlawful per se. (Compl. ¶ 169.) But
courts have repeatedly recognized that information exchanges are examined under the “rule of
reason.” This is because information exchanges are routinely acknowledged to be efficiency-
enhancing and good for competition.
        In short, Plaintiffs fail to plead the basic facts (the “who, what, when, where” and, perhaps
most importantly, the “how”); they plead their case under the wrong legal standard (per se rather
than rule of reason); and they rely on conclusory assertions that conflict with other allegations. As
set forth below, the law demands more.
        Finally, dismissal with prejudice is proper because Plaintiffs cannot correct these
deficiencies through amendment. If Plaintiffs were able to sufficiently plead a per se violation of
the Sherman Act, they would have done so. Even if Plaintiffs amended their Complaint to describe
a violation under the rule of reason, their allegations would still lack the necessary detail to satisfy



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Twombly. Any attempts to amend their claims under the Packers and Stockyards Act (“PSA”) are
similarly futile. As sophisticated litigators, Plaintiffs have marshalled their best factual allegations
in this Complaint – and those efforts have fallen short.
                                          BACKGROUND

        Defendants Tyson, Pilgrim’s Pride, Perdue, Koch, and Sanderson Farms are five of at least
25 poultry Integrators in the United States. (Id. ¶¶ 26–39, 50, 99.) Their basic production model
has been the same since the 1960s. (Id. ¶¶ 49–50.) Integrators operate in “localized networks of
production” around the country to produce Broiler chickens. (Id. ¶ 45.) To ensure the quality and
consistency of the chickens they sell in the retail market, Integrators own feedmills that produce
chicken feed, hatcheries where breeder chickens’ eggs are hatched, and complexes where fully-
grown Broilers are processed and chicken products are produced for sale. (Id. ¶¶ 47–50, 91.)
        Integrators contract with nearby Growers to feed and care for hatched Broiler chicks until
they reach slaughtering age. (Id. ¶ 54.) Under this arrangement, Integrators provide chicks, feed,
and veterinary services and provide technical advice to the Growers, including specifying the
Growers’ equipment. (Id. ¶¶ 54, 63.) These practices ensure that the Broilers are raised to the
Integrator’s specifications and are suitable for sale and consumption. Growers provide labor,
utilities, and upfront investment in facilities. (Id. ¶¶ 54–55.) Integrators provide the precise
specifications for the construction and maintenance of the facilities reflecting their individual
judgment as to the most efficient manner to grow chicks. (Id.) By necessity, “[B]roiler production
is geographically concentrated,” such that “the mean distance from a [G]rower to the [I]ntegrator’s
processing plant was 34 miles, and 90 percent of all birds [are] produced on farms within 60 miles
of the plant.” 2




2   James M. MacDonald, Econ. Research Serv., U.S. Dep’t of Agric., Technology, Organization,
    and Financial Performance in U.S. Broiler Production, Econ. Info. Bulletin No. 126 (June
    2014), at 5, 29, https://www.ers.usda.gov/webdocs/publications/43869/48159_eib126.pdf.
    [hereinafter U.S. Broiler Production Report]. Note that, although this source has not been cited
    by the Plaintiffs, the Court “may take judicial notice of government reports.” Khan v. Bank of
    New York Mellon, 535 F. App’x 778, 780 n.3 (10th Cir. 2013); see also Parker v. Brown, 317
    U.S. 341, 363 n.9 (1943) (noticing data in USDA publications); Missouri Pet Breeders Ass’n
    v. Cty. of Cook, 106 F. Supp. 3d 908, 918 (N.D. Ill. 2015) (noticing USDA publication in
    dismissing complaint).



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          A.     Grower Pay and the Tournament System.

          Integrators pay Growers pursuant to contracts, which typically specify a compensation
formula. Many Integrators pay Growers using a “Tournament System,” which is an incentive-pay
arrangement that rewards Growers for efficient grow-out (e.g., attaining more pounds of meat
using less feed). (Compl. ¶¶ 146–149.) Grower pay is tied to a base pay that is set forth in their
contracts with the Integrators. Each week a group of Growers “in a given location” settle their
flocks with their Integrator. (Id. ¶ 147.) Integrators then rank their Growers on a feed-conversion
metric. (Id. ¶¶ 147, 149.) Growers who performed above average on feed conversion earn more
than the average base pay, and Growers who performed below average earn less than average. (Id.
¶ 148.)
          The Tournament System has existed in some form since at least the mid-1970s. It has
remained a staple of the industry because it drives efficiency and product quality that benefits
consumers. Through this competitive mechanism, Defendants maximize the volume of meat for
sale by rewarding Grower efficiency.           Both the Grain Inspectors, Packers and Stockyards
Administration (“GIPSA”), an agency of the U.S. Department of Agriculture (“USDA”), and the
U.S. Department of Justice (“DOJ”) monitor this system. See, e.g., 9 C.F.R. §§ 201.3, 201.100.
          B.     Agri Stats.

          Many Integrators subscribe to Agri Stats, a third-party research firm owned by Eli Lily &
Co. According to its website (see Compl. ¶¶ 67, 69), Agri Stats has been providing its services to
the Broiler industry since 1985, and it provides similar services to several other industries. See
Agri Stats, Inc., Company History, http://www.agristats.com/history (last visited Aug. 10, 2017)
[hereinafter Agri Stats Company History]; Agri Stats, Inc., Partnership and Services,
http://www.agristats.com/partnership (last visited Aug. 10, 2017). Agri Stats produces reports and
sells those reports to subscribers, including Integrators. (Compl. ¶ 25.)
          Plaintiffs do not dispute that the data in Agri Stats reports is anonymous. (Id. ¶ 73.) They
assert that, nonetheless, industry participants “can” use it to identify specific Integrators’ data.
(Id.) Plaintiffs offer no specific factual allegations to support this conclusion.
                                           *       *       *
          In short, both the Tournament System and benchmarking through Agri Stats have been part
of the Broiler industry for decades.        They are longstanding, disclosed practices with real,
efficiency-enhancing and competition-increasing benefits driving their use. As set forth below,


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Plaintiffs’ efforts to turn these practices and their dissatisfaction with the Grower-Integrator
relationship into antitrust violations must fail.
                                            ARGUMENT

        The crux of a conspiracy claim is an agreement. Plaintiffs’ claims must be dismissed
because they fail to allege facts demonstrating a “plausible” agreement to conspire among
Defendants. Doing so requires “more than labels and conclusions [or] a formulaic recitation of
the elements of a cause of action . . . .” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).
Rather, Plaintiffs must set forth “factual allegations” that “raise a right to relief above the
speculative level.” Id. Plaintiffs’ allegations fall far short of this requirement.
        Plaintiffs’ Sherman Act claim may not advance unless they plead “enough factual matter
(taken as true) to suggest that an agreement was made.” Id. at 556. Plaintiffs carry the burden of
“mak[ing] clear exactly who is alleged to have done what to whom, to provide each individual
with fair notice as to the basis of the claims against him or her, as distinguished from collective
allegations.” Bristow Endeavor Healthcare, LLC v. Blue Cross and Blue Shield Ass’n, No. 16-
5149, 2017 WL 2350204, at *2 (10th Cir. May 31, 2017). Plaintiffs do not meet that burden with
respect to any part of their alleged “Scheme.” (Compl. ¶ 4.)
        To plead an agreement, it is not sufficient that Plaintiffs assert a conclusion that one existed
among all Defendants and a crowd of co-conspirators.             (See Compl. ¶ 79.)       Furthermore,
allegations of “parallel business behavior,” without facts supporting any agreement, “fall[] short
of conclusively establishing agreement or . . . constituting a Sherman Act offense.” Twombly, 550
U.S. at 553 (internal quotation marks omitted). It is not enough to plead facts that are “consistent
with conspiracy.” Id. at 554. Where, as here, Plaintiffs plead facts “just as much in line with a
wide swath of rational and competitive business strategy unilaterally prompted by common
perceptions of the market,” their Complaint must be dismissed. See id.; see also Robbins v.
Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008) (holding that allegations lack plausibility when
they “are so general that they encompass a wide swath of conduct, much of it innocent”). 3




3   Plaintiffs’ PSA claim demands the same. See, e.g., Terry v. Tyson Farms, Inc., 604 F.3d 272,
    276 (6th Cir. 2010) (applying Twombly and affirming dismissal of a Grower action against
    Tyson under the PSA).



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I.     PLAINTIFFS HAVE FAILED TO ALLEGE AN AGREEMENT NOT TO POACH
       EACH OTHER’S GROWERS.

       Plaintiffs assert the Defendants agreed not to “poach” each other’s Growers. Plaintiffs may
plead such a conspiracy with direct evidence – i.e., with “the proverbial smoking gun,” InterVest,
Inc. v. Bloomberg, L.P., 340 F.3d 144, 159 (3d Cir. 2003) (internal quotation marks omitted) – or
with circumstantial evidence that allows such an agreement to be inferred – i.e., parallel conduct
and “plus factors” that make plausible that the parallel actions were deliberately taken in service
of an agreement. See Twombly, 550 U.S. at 553, 557; see also Cayman Exploration Corp. v.
United Gas Pipe Line Co., 873 F.2d 1357, 1361 (10th Cir. 1989) (“[E]ven conscious parallel
business behavior, standing alone, is insufficient to prove conspiracy.”). Plaintiffs successfully
plead neither.
       A.        Plaintiffs Do Not Plead Direct Evidence of a “No Poaching” Conspiracy.

       At its heart, Plaintiffs’ direct “no poaching” claim amounts to an assertion that there is a
perception among some Growers that there might be an agreement among Integrators: e.g., “[I]t
seems to be a written [sic] rule that if you go grow for one company, you really don’t have the
opportunity to even cross those lines to go to another company.” (Compl. ¶ 83 (emphasis added).)
Plaintiffs’ most specific attempt to directly plead an agreement is an excerpt from a years-old
complaint letter sent to GIPSA about one non-defendant, Peco Foods, and statements made by an
unnamed secretary at Peco to an unidentified Grower at an unspecified time. (Id. ¶ 80.) This does
not qualify as direct evidence in any sense. See Champagne Metals v. Ken-Mac Metals, Inc., 458
F.3d 1073, 1083 (10th Cir. 2006) (“Direct evidence in a Section 1 conspiracy must be evidence
that is explicit and requires no inferences to establish the proposition or conclusion being
asserted.”). Plaintiffs do not allege with whom Peco conspired, for what geographic region, or
how long the agreement was to stay in place. Nor do they allege whether and how that secretary
was knowledgeable regarding the alleged actions of Peco or the other alleged conspirators. The
same is true for Plaintiffs’ far-weaker efforts to plead an agreement directly: conclusory statements
about “unwritten pacts” are not the same as pleading “who, what, where, and when.” (E.g., id.
¶¶ 81, 82.) See Bristow Endeavor Healthcare, LLC, 2017 WL 2350204, at *2. Nor do such
generalized assertions about all Integrators provide Defendants with “fair notice” about the claim
against each of them or the grounds upon which it rests. Twombly, 550 U.S. at 555.




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       B.      Plaintiffs Fail to Allege Circumstantial Evidence of a Plausible Conspiracy.

       Plaintiffs also fail to plead a circumstantial case. Specifically, Plaintiffs have neither
adequately alleged parallel conduct, nor additional factors as they must to support an inference
that a plausible “no-poaching” agreement exists. See Twombly, 550 U.S. at 553, 557; Cayman
Exploration Corp., 873 F.2d at 1361.         Where, as here, the Complaint contains legitimate
explanations for the alleged parallel conduct, the failure to plead sufficient “plus factors” is even
more stark.
               1.      Plaintiffs Have Not Alleged Parallel Conduct.

       Plaintiffs do not sufficiently allege that Defendants, in parallel, declined to poach each
other’s Growers. For example, Plaintiffs do not allege that Growers previously moved between
Integrators freely and that this movement stopped as a result of the purported conspiracy. Plaintiffs
also do not plead any change in the numbers of Growers switching Integrators that would allow
an inference that an agreement not to poach was made and in place. Instead, they allege that, “as
a result” of the supposed “no poaching” agreement, 2.88% of Growers actually switched and about
                                                                                   4
“5% of Growers were able to switch Integrators” in 2014. (Compl. ¶¶ 85–87.) But pleading an
industry average is not the same thing as pleading that the industry is acting in parallel. Plaintiffs
do not plead whether these numbers are higher or lower than before the alleged “no poaching”
agreement supposedly began in 2008 or whether that is a low number given the substantial
switching costs described in the Complaint. Plaintiffs point to no other change in pattern or
practice that supports their alleged rate of switching as the product of a “no poaching” agreement.
Other than alleging that Growers do not switch much, Plaintiffs do not plead anything that suggests
Defendants’ conduct with respect to Grower hiring is parallel at all.




4
    Plaintiffs’ alleged conspiracy is further implausible because they do not allege how Defendants
    and any other co-conspirators might enforce the “no poaching” agreement. They do not plead
    what disincentivizes Defendants and any other co-conspirators from hiring Growers from a
    competing Integrator when it would otherwise be independently rational to do so. Nor do they
    plead what “punishment,” if any, was levied upon those Integrators who contracted with the
    5% of Growers from competing Integrators.


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               2.      Plaintiffs Have Not Sufficiently Alleged That Any Parallel Conduct
                       Was the Result of a Plausible Agreement.

                       a.      Obvious, Alternative Explanations for Low Rates of Growers
                               Switching Integrators Exist.

       Plaintiffs also have not pled a plausible circumstantial case because alleged “parallel”
refusals to recruit or contract with Growers from other Integrators do not support an agreement if
that conduct is just as likely to be the result of “chance, coincidence, independent responses to
common stimuli, or mere interdependence.” Twombly, 550 U.S. at 556 n.4. Put differently,
parallel conduct does not support an inference of conspiracy where there is an “obvious alternative
explanation” for it. Id. at 567. That is exactly the case here.
       The alleged low rate of Grower switching is more plausibly explained by independently
rational conduct on the part of both Growers and Integrators. Plaintiffs concede as much. They
claim that Integrators have “precise specifications” for the houses and equipment that a Grower
must use. (Compl. ¶ 55.) It makes sense that Defendants would be hesitant to contract with
Growers who worked with other Integrators. As Plaintiffs also plead, “[a] single grow-out house
can cost $300,000 or more” (id. ¶ 59), and Growers become “laden with debt from building or
upgrading the grow-out facilities.” (Id. ¶ 60.) Moreover, Plaintiffs also admit that Growers do
switch Integrators, usually when doing so is “accompanied by a benefit to an Integrator” – e.g.,
solving the problem of “too many Growers under contract.” (Id. ¶ 88.) Thus, Plaintiffs plead the
“natural explanation” for the conduct alleged: Defendants each “liked the world the way it was”
and “were sitting tight.” See Twombly, 550 U.S. at 557–58; see also LaFlamme v. Societe Air
France, 702 F. Supp. 2d 136, 151 (E.D.N.Y. 2010) (“Twombly contemplates a ‘factually
suggestive’ context involving some sort of anomalous behavior on the part of defendants.”
(quoting Twombly, 550 U.S. at 557 n.5) (emphasis added)).
       Plaintiffs also concede why Growers may be “sitting tight.” According to Plaintiffs,
Growers invest heavily in facilities specific to the Integrator with whom they have partnered.
(Compl. ¶¶ 55–56.) Plaintiffs also recognize that not all Growers have more than one Integrator
in their geographic area, and, where they do not, switching would require “moving.” (Id. ¶ 89.)
Given these investments, costs, and geographic restrictions, the allegedly low level of switching
by Growers is entirely predictable.




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       It is also notable that not one of the named Plaintiffs is alleged to have attempted to switch
Integrators and been denied. In fact, there are no allegations that any Defendant declined to
contract with a competitor’s Grower when it was otherwise in that Defendant’s independent
economic self-interest to do so. In short, Plaintiffs admit that Growers’ low rate of switching is
perfectly consistent with their unilateral self-interest. This means they have not pled a plausible
agreement, and the Court should not infer a conspiracy. See Twombly, 550 U.S. at 567.
                       b.      Plaintiffs Have Not Alleged “Plus Factors” That Support an
                               Inference of Conspiracy.

       Even if a Complaint pleads parallel conduct, it also must allege “plus factors” – “further
circumstance[s] pointing towards a meeting of the minds.” Twombly, 550 U.S. at 553, 557.
Plaintiffs have not successfully pled parallel conduct, which means their “plus factors” are
inapposite. See Cayman Exploration Corp., 873 F.2d at 1361 (holding that, in the absence of direct
evidence, plaintiff “must establish that defendants engaged in consciously parallel action . . . which
was contrary to their economic self-interest so as not to amount to good faith business judgment”).
Even so, the handful of “plus factors” they attempt to plead – (1) opportunities to conspire,
(2) executives’ mobility, and (3) industry characteristics – do nothing to make more plausible
Plaintiffs’ claims that a “no poaching” agreement existed.
       First, despite the 20 paragraphs devoted to the National Chicken Council and other trade
associations in the Complaint, Plaintiffs’ allegations that Defendants participate in trade
association meetings are not enough. (Compl. ¶¶ 103–122.) “[I]t was well-settled before Twombly
that participation in trade organizations provides no indications of conspiracy.” Am. Dental Ass’n
v. Cigna Corp., 605 F.3d 1283, 1295–96 (11th Cir. 2010); see also Consol. Metal Prods., Inc. v.
Am. Petro. Inst., 846 F.2d 284, 293–94 (5th Cir. 1988) (“A trade association by its nature involves
collective action by competitors. Nonetheless, a trade association is not by its nature a ‘walking
conspiracy.’”). Plaintiffs must advance specific allegations that an unlawful agreement was
reached at these meetings, and they do not. See In re Musical Instruments and Equip. Antitrust
Litig., 798 F.3d 1186, 1196 (9th Cir. 2015) (“Mere participation in trade-organization meetings
where information is exchanged and strategies are advocated does not suggest an illegal
agreement.”). Plaintiffs’ failure to identify any changes in the Defendants’ behavior in conjunction
with the trade association activities dooms their claim. Cf. In re Text Messaging Antitrust Litig.,
630 F.3d 622, 628 (7th Cir. 2010) (“[A]ll at once the defendants changed their pricing structures,



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which were heterogeneous and complex, to a uniform pricing structure, and then simultaneously
jacked up the prices by a third.”). Without such a change in behavior, Defendants’ participation
in trade associations is the kind of lawful and rational conduct that Twombly protects.
       Plaintiffs fare no better with their discussions of feedmill cross-testing and plant tours
among Defendants. (Compl. ¶¶ 76, 123.) Plaintiffs do not adequately explain how these alleged
activities further any conspiracy. Asserting an “opportunity to conspire among senior executives”
(id. ¶ 123) says nothing about whether those unnamed executives from unspecified Integrators
actually reached an agreement or what they agreed to do. Nor do Plaintiffs plead facts supporting
an inference that Defendants’ stated reason for engaging in these activities – to develop “superior”
chicks and “maximize efficiency” – is pretext. (Id. ¶ 76.) In fact, such modest collaboration over
feedmills and best production practices has been recognized as good for competition. See Fed.
Trade Comm’n & U.S. Dep’t of Justice, Antitrust Guidelines for Collaborations Among
Competitors § 3.31(a) (Apr. 2000) (stating that research and development collaborations are
usually procompetitive where the combination of “complementary technologies, know-how, or
                                                                           5
other assets” enables participants to “produce a good more efficiently”); TYR Sport v. Warnaco
Swimwear, Inc., 709 F. Supp. 2d 802, 814 (C.D. Cal. 2010) (noting that “joint research is likely to
have many procompetitive effects”).
       Second, Plaintiffs’ alleged movement of executives between Integrators as a “plus factor”
is likewise unremarkable, not to mention inherent in a competitive industry. Plaintiffs do not
connect the movements of high-level employees across Integrators to the alleged conspiracy. (See
Compl. ¶ 78.) And, in reality, it would be odd if executives with relevant industry experience were
not occasionally recruited away by competitors. See ATC Healthcare Servs., Inc. v. RCM Techs.,
Inc., No. 15 C 08020, 2016 WL 3521883, at *9 (N.D. Ill. June 28, 2016) (“Hiring a competitor’s
employees is an ordinary part of competition, and indeed is inherent in any successful economic
system.”); Credit Bureau Servs., Inc. v. Experian Info. Sols., No. 12-61360-CIV, 2012 WL



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    Consideration of the “well-reasoned views of the agencies implementing a statute constitute a
    body of experience and informed judgment to which courts and litigants may properly resort
    for guidance.” Bragdon v. Abbott, 524 U.S. 624, 642 (1998); see also Vincent v. The Money
    Store, 736 F.3d 88, 101 & n.12 (2d Cir. 2013) (looking to Fed. Trade Comm’n staff
    commentary as “persuasive authority” in interpreting the Fair Debt Collection Practices Act,
    15 U.S.C. §§ 1692–1692p).


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6102068, at *19 (S.D. Fla. Dec. 7, 2012) (holding that an allegation “that officers of each
[defendant] were at other times officers of another” is insufficient to state a conspiracy); Superior
Offshore Int’l, 738 F. Supp. 2d 505, 516 (D. Del. 2010) (dismissing complaint because alleged
opportunities to conspire, including personnel moves, were insufficient without more to permit a
reasonable inference of collusion). In short, this supposed “plus factor” establishes nothing.
         Third, the remaining “plus factors” Plaintiffs allege are similarly insufficient. Plaintiffs
allege that industry characteristics and a history of government scrutiny of the industry support an
inference of an agreement here. (See, e.g., Compl. ¶¶ 90–101, 124–128.) However, the law makes
clear that these phenomena do not, without more, make a conspiracy plausible. E.g., White v. R.M.
Packer Co., Inc., 635 F.3d 571, 580 (1st Cir. 2011) (finding that industry structure alone “does
nothing to explain whether the parallel pricing was achieved by agreement or mere interdependent
decisions”); Williamson Oil Co. v. Philip Morris USA, 346 F.3d 1287, 1317–18 (11th Cir. 2003)
(rejecting historical antitrust violations as “indicative of a present antitrust violation”).
                                            *       *       *
         Taken together, Plaintiffs fail to allege either direct or circumstantial evidence sufficient to
support a plausible agreement not to poach Growers. Plaintiffs are unable to point to any facts that
suggest otherwise. Consequently, the first leg of their alleged “Scheme” fails.
II.      THE COMPLAINT DOES NOT SUFFICIENTLY ALLEGE A PLAUSIBLE
         INFORMATION-EXCHANGE CONSPIRACY.

         Plaintiffs assert that Defendants “illegally agreed to share detailed data on Grower
compensation” with each other. (Compl. ¶ 2; see also Dkt. 151 at 15.) This is the second putative
agreement in their alleged “Scheme.” As an initial matter, Plaintiffs allege a per se violation of
the antitrust laws (id. ¶ 169), which they cannot satisfy with an information-exchange agreement.
It is well settled that information exchanges are addressed under the rule of reason. See, e.g., Todd
v. Exxon Corp., 275 F.3d 191, 198–99 (2d Cir. 2001) (Sotomayor, J.); see also United States v.
Citizens & S. Nat’l Bank, 422 U.S. 86, 113 (1975). This defect alone compels dismissal. Further,
Plaintiffs fail to plead direct or circumstantial support for this agreement regardless of the standard
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applied.



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      A rule of reason case, if alleged, would also fail. The Complaint alleges a highly-implausible
      nationwide market for Grower services. (Compl. ¶ 129 (“The relevant geographic market is


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       A.      Plaintiffs Cannot Plead a Per Se Antitrust Violation.

       At the threshold, Plaintiffs’ information-exchange claims should be dismissed because
such an agreement cannot be a per se violation. That standard applies to a narrow class of cases,
like agreements to fix prices or divide markets, in which the alleged restraint on trade is one courts
view as “always or almost always tend[ing] to restrict competition and decrease output.” Leegin
Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 877 (2007). As the Supreme Court has
explained, “the dissemination of price information is not itself a per se violation of the Sherman
Act.” Citizens & S. Nat’l Bank, 422 U.S. at 113. It is, instead, governed by the rule of reason.
See Todd, 275 F.3d at 198.
       Information exchanges have many potential benefits for competition and, as a result, are
not per se illegal. The benchmarking alleged in this case, for example, has been recognized as a
tactic to “force[] companies to compare themselves with best-in-class companies, quantify
differences in performance, explain these differences, and identify steps to catch up and surpass.”
Thomas M. Jorde & David J. Teece, Rule of Reason Analysis of Horizontal Arrangements:
Agreements Designed to Advance Innovation and Commercialize Technology, 61 ANTITRUST L.J.
579, 596 (1993). Such services were not intended to be “suppress[ed]” by the Sherman Act, and
they promote the “intelligent conduct of business operations” by allowing the “individual
intelligence of those engaged in commerce” to benefit all engaged in the market. Maple Flooring
Mfrs.’ Ass’n v. U.S., 268 U.S. 563, 583–84 (1925). Thus, the Supreme Court held in Maple
Flooring:
       Persons who unite in gathering and disseminating information in trade journals and
       statistical reports on industry, who gather and publish statistics as to the amount of
       production of commodities in interstate commerce, and who report market prices,



   the United States.”); see id. ¶ 135.) These claims should be dismissed even if pled under the
   rule of reason. See Campfield v. State Farm Mut. Auto Ins. Co., 532 F.3d 1111, 1119 (10th
   Cir. 2008) (“By failing to allege an appropriate market, [Plaintiff] has failed to state a claim
   under § 2 of the Sherman Act.”); Westman Comm’n Co. v. Hobart Int’l, Inc., 796 F.2d 1216,
   1222 (10th Cir. 1986) (defining the proper geographic market is “the narrowest market which
   is wide enough so that products from adjacent areas . . . cannot compete on substantial parity
   with those included in the market”); Wampler v. Sw. Bell Telephone Co., 597 F.3d 741, 744–
   46 (5th Cir. 2010) (affirming dismissal for failure to demonstrate that alleged geographic
   market was sufficient for antitrust purposes); Jacobs v. Tempur-Pedic Int’l., Inc., 626 F.3d
   1327, 1336 (11th Cir. 2010) (finding the complaint deficient under Twombly because of an
   overbroad relevant market that combined distinct submarkets).


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       are not engaged in unlawful conspiracies in restraint of trade merely because the
       ultimate result of their efforts may be to stabilize prices or limit production through
       a better understanding of economic laws and a more general ability to conform to
       them, for the simple reason that the Sherman Law neither repeals economic laws
       nor prohibits the gathering and dissemination of information.

Id.; see also United States v. U.S. Gypsum Co., 438 U.S. 422, 441 n.16 (1978) (“The exchange of
price data and other information among competitors does not invariably have anticompetitive
effects; indeed such practices can in certain circumstances increase economic efficiency and render
markets more, rather than less, competitive.” (emphasis added)).
       Plaintiffs attempt to avoid their obligation to plead this agreement under the rule of reason
with a blanket assertion that the “Scheme” is “a per se violation of the Sherman Antitrust Act.”
(Compl. ¶ 169.) But pleading an overarching conspiracy does not mean that Defendants “may be
found per se liable for all manner of conduct which may otherwise singly be evaluated under the
rule of reason.” See In re Processed Eggs Prods. Antitrust Litig., 206 F. Supp. 3d 1033, 1040
(E.D. Pa. 2016) (rejecting a similar contention as one that “cannot possibly be correct”); see also
Leegin Creative Leather Prods., Inc., 551 U.S. at 893 (recognizing that even where a horizontal
cartel is properly pled as per se unlawful, a vertical agreement alleged to “facilitate” the cartel
“would need to be held unlawful under the rule of reason” if the restraint is not one that always or
almost always tends to restrict competition and decrease output). Plaintiffs’ alleged information-
exchange agreement falls squarely within the rule of reason’s scope.
       Plaintiffs’ pleading defect compels dismissal as a matter of law. See In re Ins. Brokerage
Antitrust Litig., 618 F.3d 300, 317 (3d Cir. 2010) (“If the court determines that the restraint at issue
is sufficiently different from the per se archetypes to require the application of the rule of reason,
the plaintiff’s claims will be dismissed.”); see also United States v. eBay, Inc., 968 F. Supp. 2d
1030, 1037–38 (N.D. Cal. 2013) (“[If] the court ultimately find[s] that the [plaintiff] cannot
maintain a per se or quick look claim, [plaintiff] will then be without recourse to the rule of reason
and its case will be dismissed.” (internal citations omitted)).
       B.      Plaintiffs Fail to Allege an Information-Exchange Agreement Among
               Defendants.

       Plaintiffs cannot allege an agreement to exchange information regardless of the standard
applied. They do not and cannot allege an agreement among Defendants to share information.
As with the alleged “no poaching” agreement, Plaintiffs do not plead an agreement directly, nor



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do they adduce facts to support an inference that one existed. Plaintiffs’ allegations reduce to the
claim that each Defendant submits information to a benchmarking service, which is perfectly
commonplace and legal.
               1.      Plaintiffs Do Not Plead an Agreement Directly.

      Plaintiffs do not allege that Defendants actually agreed among themselves to exchange
information. (Compl. ¶¶ 67, 69–75.) They do not specify which Defendants agreed with each
other to share information, when they supposedly agreed, what information they agreed to share,
or the steps Defendants took to enforce the agreement. See Twombly, 550 U.S. at 565 n.10 (holding
that dismissal of conspiracy claim is required where “the pleadings mentioned no specific time,
place, or person involved in the alleged conspiracies”); Total Benefits Planning Agency, Inc. v.
Anthem Blue Cross and Blue Shield, 552 F.3d 430, 436–37 (6th Cir. 2008) (“Plaintiffs only offer
bare allegations without any reference to the ‘who, what, where, when, how or why.’”). At best,
their allegations demonstrate that each Defendant independently decided to participate in
benchmarking. (Compl. ¶¶ 67, 69–75.)
      Such conclusory allegations, without more, are not enough to survive a motion to dismiss.
In Burtch v. Milberg Factors, Inc., for example, the Third Circuit dismissed the plaintiff’s claims
that the defendants had conspired to refuse to extend credit to the plaintiff for garment purchases
after exchanging information about the plaintiff’s credit. 662 F.3d 212, 217–18 (3d Cir. 2011).
The Third Circuit concluded that the plaintiff had not pled any direct evidence of an agreement,
and allegations that the defendants held 27 conversations exchanging information were insufficient
without further factual claims that an agreement was made. Id. at 226. Here, Plaintiffs’ claims
fail for the same reasons. Plaintiffs plead only that Defendants participated in benchmarking. As
in Burtch, the mere exchange of information through benchmarking is not unlawful, absent an
actual agreement to suppress compensation. Plaintiffs have not pled such an agreement.
               2.      Plaintiffs Do Not Plead Facts From Which an Agreement Can Be
                       Inferred.

      Plaintiffs also do not allege circumstantial evidence that Defendants agreed to share
information among themselves. To be sure, Plaintiffs assert that each Defendant – and 14 other
Integrators alleged to be co-conspirators – sends data to and receives data from Agri Stats weekly.
(Compl. ¶¶ 26–39, 67, 70, 72.) But they do not allege how this conduct establishes an agreement
among Defendants to do so. Cf. In re Ins. Brokerage Antitrust Litig., 618 F.3d at 327 (“[O]ne


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cannot plausibly infer a horizontal agreement among a broker’s insurer-partners from the mere
fact that each insurer entered into a similar contingent commission agreement with the broker.”).
Nor would any such allegation make sense. Agri Stats has performed benchmarking for various
industries, including poultry, since the 1980s. See Agri Stats Company History, supra p. 4. Yet,
Plaintiffs allege that Defendants began agreeing to unlawfully exchange information through Agri
Stats in 2008. (See Compl. ¶ 66.) Plaintiffs do not allege any communications among Defendants
relating to Agri Stats of any sort. They also do not allege which Defendants began using Agri
Stats and when, or any details about what information Defendants agreed among themselves to
provide to and receive from Agri Stats. Cf. Total Benefits Planning Agency, 552 F.3d at 435–36
(“[T]he rim holding everything together is missing. . . . [T]he critical issue for establishing a per
se violation with the hub and spoke system is how the spokes are connected to each other.”).
Instead, Plaintiffs obliquely assert the types of information Agri Stats collects and the format in
which the data is allegedly compiled. (Id. ¶¶ 70, 73.) They ask the Court to infer from that alone
that Defendants must have agreed with each other to share that data and to limit competition
among themselves. But it is not enough to plead “rhetorical spin that beg[s] the most important
question, namely, whether there was any conspiracy to begin with.” See Kelsey K. v. NFL Enters.,
LLC, No. C 17-00496, 2017 WL 2311312, at *5 (N.D. Cal. May 25, 2017) (granting motion to
dismiss complaint alleging conspiracy to fix and suppress compensation). That is all that Plaintiffs
do.
                        a.      There is an Obvious, Alternative Explanation for Defendants’
                                Participation in Agri Stats.

        Just as with their “no poaching” agreement allegations, there is an obvious, alternative
explanation for Defendants’ participation in Agri Stats that precludes Plaintiffs’ claims. See
Twombly, 550 U.S. at 567. As discussed above, information exchanges help companies compete.
See supra Part II.A. Participating in benchmarking to this end is independent, rational behavior,
not a conspiracy. See Bristow Endeavor Healthcare, LLC, 2017 WL 2350204, at *3 (“A complaint
is insufficient if the alleged behavior was as likely to have been the result of legal, unilateral action
as the product of illicit collusion.” (quotation omitted)).
        Moreover, this is true even if, as Plaintiffs allege, Defendants use Agri Stats to “monitor
each other’s compensation levels to Growers.” (Compl. ¶ 74.) It makes unilateral sense that each
Defendant would do so (especially in a world without a “no poaching” agreement) to determine



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whether it is paying the market-clearing price for Grower services. Superior Offshore Int’l, Inc.
v. Bristow Group Inc. is instructive on this point. In that case, the court dismissed a Sherman Act
claim where “[d]efendants openly shared information about their capacity to serve . . . oil and gas
producers, and the costs [d]efendants commonly faced for fuel, helicopters, support facilities,
personnel, and maintenance.” 738 F. Supp. at 516. The court found that the “[p]laintiff ma[de]
no allegation of any specific concerted exchange of pricing information between or among
[d]efendants.” Id. (emphasis added). Consequently, “the [d]efendants’ alleged knowledge of their
co-competitors’ cost structures, and the competitors’ unfettered exchange of business information,
[were] neither remarkable nor actionable.” Id. (quotation omitted). The same is true here.
Exchanging information through Agri Stats, including about Growers compensation (see Compl.
¶ 70), is entirely consistent with independent business decisions. 7 See Superior Offshore Int’l, 738
F. Supp. 2d at 510–11 (holding that, even though firms may take into account how other firms may
act, such decisions remain “independent”).
       Indeed, Plaintiffs plead no support for their alternative conclusion that Defendants allegedly
monitor Grower compensation to “ensure that no Integrator is offering materially more in
compensation than another.” (Compl. ¶ 74 (emphasis added).) They make no effort to plead how
that outcome results or could be enforced – i.e., what happens if a Defendant did offer more.
Because they do not, their allegation that Defendants use Agri Stats to monitor each other’s Grower
pay is, at worst, as consistent with the intelligent, unilateral business operations the Sherman Act
protects as it is with conspiracy. See Maple Flooring Mfrs.’ Ass’n, 268 U.S. at 583–84. That is
not enough to make an agreement plausible. See Twombly, 550 U.S. at 557 (requiring at the
pleading stage “allegations plausibly suggesting (not merely consistent with) agreement”).


7   The Tenth Circuit’s opinion in Mitchael v. Intracorp, Inc. is similarly instructive. There, the
    court considered allegations that the defendants exchanged information about chiropractic fees
    throughout the nation, broken down by geographical area and individual procedure, including
    a list of fees at or below which 80% and 90% of area chiropractors charged. 179 F.3d at 581.
    The court held that “[a]t most, [the plaintiffs] show that the Insurers shared a common concern
    about chiropractic cost containment, and that, at times, some of them shared information
    about how each one individually handled chiropractic claims and that, at times, the Insurers
    used Intracorp to review chiropractic claims.” Id. at 860 (emphasis added). Although applying
    a summary judgment standard in that case, the court noted that “plaintiffs have simply failed
    to present evidence tending to exclude the possibility that the defendants acted independently
    out of a legitimate and reasonable concern to control chiropractic costs.” Id.



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                         b.      Plaintiffs Do Not Sufficiently Plead “Plus Factors.”

         Plaintiffs’ circumstantial case fails for the additional reason that they do not (and cannot)
plead “plus factors” that make the alleged agreement more plausible. For example, Plaintiffs’
allegations of opportunities to conspire at trade association meetings and through feedmill cross-
testing and complex tours (Compl. ¶¶ 76–77, 103–123), as well as their allegations that executives
sometimes switch companies (id. ¶ 78), remain insufficient as a matter of law. See supra Part
I.B.2.b.     Plaintiffs do not sufficiently connect these allegations and Defendants’ supposed
agreement to share information through Agri Stats. To the contrary, Plaintiffs’ allegations of an
overarching “Scheme” conflict and render any motive to collude here implausible. If Plaintiffs’
first alleged agreement were true and Defendants agreed not to poach each other’s Growers
(Compl. ¶ 79), then Defendants had no motive to enter Plaintiffs’ second alleged agreement to
submit information so that they may “constantly monitor” what other Integrators are paying. (Id.
¶ 74.) If there is nowhere for the Growers to go, then there is no motive to ensure a Grower is not
being enticed away by better pay elsewhere. These allegations are fundamentally inconsistent
with a conspiracy and, thus, implausible. Simply put, Plaintiffs cannot carry their burden to allege
that any Defendant, let alone all of them, had “a conscious commitment to a common scheme
designed to achieve an unlawful objective.” See Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S.
752, 768 (1984); see also Bristow Endeavor Healthcare, LLC, 2017 WL 2350204, at *2. Their
claims must fail.
                                           *       *       *

           In sum, the second putative agreement in Plaintiffs’ alleged “Scheme” fails because they
cannot plead an information-exchange agreement as a per se antitrust violation as a matter of law,
and because they do not allege a plausible agreement among Defendants to share information
through Agri Stats regardless of the standard applied.

III.       PLAINTIFFS’ PACKERS AND STOCKYARDS ACT CLAIM MUST ALSO BE
           DISMISSED.

           Plaintiffs’ claim under the PSA merely repeats the Sherman Act allegations and must also
be dismissed. Plaintiffs not only fail to plead any anticompetitive agreement or effects, but also
run afoul of both mandatory venue and personal jurisdiction requirements necessary to bring these
claims before this Court.



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          A.     Plaintiffs Do Not Plausibly Allege an Anticompetitive Agreement or Effect.

          Courts have applied Twombly’s pleading standards when reviewing motions to dismiss
PSA claims. See Terry v. Tyson Farms, Inc., 604 F.3d 272, 277–78 (6th Cir. 2010) (applying
Twombly and affirming the dismissal of a Grower claim against an Integrator under the PSA).
Moreover, PSA claims are analytically similar to Sherman Act claims because the PSA “is
essentially an antitrust statute.” Id. at 277. Thus, Plaintiffs cannot sustain a cause of action under
the PSA unless they adequately plead an adverse effect on competition. Been v. O.K. Indus., Inc.,
495 F.3d 1217, 1230 (10th Cir. 2007) (“We . . . join the those circuits requiring a plaintiff who
challenges a practice under § 202(a) to show that the practice injures or is likely to injure
competition.”); see also London v. Fieldale Farms, Inc., 410 F.3d 1295, 1303 (11th Cir. 2005)
(“Relying upon the PSA’s antitrust ancestry, several courts have held that only those unfair,
discriminatory or deceptive practices adversely affecting competition are prohibited by the PSA.”).
          As set forth above, Plaintiffs fail to sufficiently allege any unlawful anticompetitive
agreements among Defendants (1) not to “poach” each other’s Growers or (2) to share
compensation information with each other. See supra Parts I and II.B. Moreover, the Complaint
does not allege a single fact connecting Defendants’ challenged conduct to anticompetitively low
pay. That is, Plaintiffs fail to provide any detail alleging that Growers were compensated below a
competitive level. (See Compl. ¶¶ 151–154 (describing industry trends and Grower debt levels).)
See, e.g., Buccaneer Energy (USA) Inc. v. Gunnison Energy Corp., 846 F.3d 1297, 1310 (10th Cir.
2017) (holding that a negative effect on a market participant is distinct from an injury to
competition).
          First, the Complaint offers only conclusory statements that Defendants’ information
exchange has “artificially reduced the compensation of all Growers below levels that would have
prevailed in its absence.” (Compl. ¶ 144.) It includes a vague reference to “[e]conomic theory
and antitrust jurisprudence” for the (untrue) proposition that information exchanges reduce price
competition and suppress compensation. The Complaint also cites to DOJ human resources
guidance, which suggest only that information exchanges regarding employment compensation
can be, but are not necessarily, anticompetitive. These statements fall far short of Twombly’s
requirements that the allegations “raise the right to relief above the speculative level.” 550 U.S.
at 555.




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       Second, the Complaint refers to a “downward trend” in Grower pay, but does nothing to
suggest that it is related to an unlawful agreement entered into by Defendants. (Id. ¶ 151.) Instead,
Plaintiffs only allege that Grower pay has shown a “downward trend” since “at least 2007” and
that Integrators have benefited from “input costs (primarily corn and soybeans) falling roughly
20% to 23%” while some Growers have struggled financially. (Id.)
       In fact, the Complaint notes that this alleged decrease in Grower pay is part of a general
decline in Grower compensation, citing the fact that “[s]ince the 1980s, . . . Growers’ share of [the
market price of Broilers] has fallen . . . .” (Id.) But Plaintiffs do not dissociate declines in Grower
pay caused by market trends from those supposedly caused by information sharing through Agri
Stats. Moreover, given their assertion that the Agri Stats agreement began in 2008, Plaintiffs
cannot establish that alleged declines in Grower pay per pound of chicken produced is attributable
to any agreement. For both of these reasons, Plaintiffs’ allegations are insufficient. See, e.g., In
re Graphics Processing Units Antitrust Litig., 527 F. Supp. 2d 1011, 1024 (N.D. Cal. 2007)
(granting motion to dismiss because “[a]lthough the complaints are replete with allegations about
defendants’ pricing behavior after the conspiracy allegedly began, they say next to nothing about
defendants’ pricing behavior before the conspiracy began”); cf. In re Text Messaging Antitrust
Litig., 630 F.3d at 628 (finding plaintiffs’ allegation of prior coordination to be plausible because
all defendants changed their pricing structures and levels simultaneously in an industry conducive
to collusion). Unless Plaintiffs are alleging a conspiracy causing ongoing injury that dates back to
the 1980s, the alleged reduction in Grower pay relative to retail chicken prices is just as, if not
more, plausibly the result of other market factors (e.g., higher retail prices for chicken resulting
from changes in consumer dietary preferences).
       Third, while Plaintiffs describe the GIPSA-monitored Tournament System under which
Growers are compensated, they do not explain how that system suppresses Grower pay. To the
contrary, they plead that the Tournament System’s offense is “pegg[ing]” Grower compensation
to the allegedly “suppressed base pay amount” (Compl. ¶ 150), using base pay as the average
above, at, or below which Growers competing against each other are paid. (Id. ¶¶ 148–50.) They
all but concede that the Tournament System has nothing to do with setting (and, thus, suppressing)
base pay.
       Fourth, Plaintiffs assert a ripple effect on Broiler supply and prices, claiming that
suppressed Grower pay leads to “reduce[d] Broiler output” and “artificially inflated prices.” (Id.



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¶ 145.) Plaintiffs plead no facts to support this bold conclusion. Moreover, this putative effect is
directly contradicted by Plaintiffs’ theory that Integrators control almost everything about Broiler
grow-out. (Id. ¶ 91 (“Integrators control both the products, i.e., the chickens, and . . . the feed
mills, veterinary care, trucking operations, slaughterhouses, processing facilities, and sales
contracts.”); id. ¶ 55 (“Integrators determine the precise specifications for Growers’ grow-out
houses and other equipment.”).) If, as Plaintiffs claim, Growers provide only “labor, utilities, and
substantial up-front investment capital” (id. ¶ 54), then Grower pay has nothing to do with the
number of Broilers they produce and, therefore, has nothing to do with market prices or output.
        Thus, the PSA claims must also be dismissed under Twombly.
        B.      Plaintiffs Fail to Satisfy the PSA’s Mandatory Venue Provision.

        Plaintiffs’ PSA claims must be dismissed for the additional reason that venue is improper
in the Eastern District of Oklahoma. The PSA expressly mandates that venue “shall be located in
the Federal judicial district in which the principle [sic] part of the performance [of a poultry
growing arrangement or contract] takes place.” 7 U.S.C. § 197b(a) (emphasis added); see also
Jewell v. United States, 749 F.3d 1295, 1299 (10th Cir. 2014) (recognizing the “age-old precept
that ‘shall’ means ‘shall’”). None of the named Plaintiffs is alleged to have performed under their
Grower contracts in the Eastern District of Oklahoma. (Compl. ¶¶ 5–9.) That means that venue
in this district is improper, and the PSA claims must be dismissed. See, e.g., McFarland v.
Memorex Corp., 493 F. Supp. 657, 659 (N.D. Cal. 1980) (granting motion to dismiss for improper
venue based upon mandatory venue statute (citing 12 U.S.C. § 94)); see also 28 U.S.C. § 1406(a)
(“The district court of a district in which is filed a case laying venue in the wrong division or
district shall dismiss . . . .” (emphasis added)).
        C.      If Plaintiffs’ Sherman Act Claim is Dismissed, the PSA Claim by Non-
                Oklahoma Plaintiffs Must Also Be Dismissed for Lack of Personal
                Jurisdiction.

        Assuming that the Court dismisses the Sherman Act claims, then it must likewise dismiss
the PSA claims brought by any non-Oklahoma residents for lack of personal jurisdiction. This
includes Plaintiffs Nancy Butler, Johnny Upchurch, Jonathan Walters, Myles B. Weaver, and
Melissa Weaver (non-Oklahoma Plaintiffs). Without the Sherman Act claims, Plaintiffs can




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establish personal jurisdiction in Oklahoma only through the Oklahoma long-arm statute.
Oklahoma’s long-arm statute permits the exercise of jurisdiction that is consistent with the
Fourteenth Amendment.
        Under the Fourteenth Amendment, the Court cannot exercise general jurisdiction over the
Defendants. None of the Defendants is incorporated in Oklahoma, and none operates in Oklahoma
as its principal place of business. (See Compl. ¶¶ 10–24.) Nor can the Court exercise specific
jurisdiction over the Defendants with respect to the PSA claims brought by non-Oklahoma
residents, as their claims have no connection to Oklahoma. Under Bristol-Myers Squibb Co. v.
Superior Court, a court cannot exercise specific jurisdiction over defendants where plaintiffs’
                                                                                                          9
claims do not arise out of defendants’ conduct in the forum state. 137 S. Ct. 1773, 1781 (2017).
The holding in Bristol-Myers would also require dismissal of non-Oklahoma Plaintiffs’ claims in
                                                                                                         10
their entirety if the Court ultimately rejects certification of Plaintiffs’ proposed nationwide class.
        Thus, Plaintiffs’ PSA claims must be dismissed pursuant to the statute’s mandatory venue
provision, as well as the non-Oklahoma Plaintiffs’ inability to establish personal jurisdiction under
                               11
Oklahoma’s long-arm statute.




8
     The PSA does not contain a nationwide service of process provision.
9
     Although Bristol-Myers left open whether its holding applied to class actions, neither the
     language of the decision nor its approach to jurisdiction in class actions suggests a different
     result. “In actions involving a plaintiff class, jurisdiction over defendants is acquired and
     service of process is effected as in any other action.” Charles A. Wright & Arthur R. Miller,
     7A Fed. Prac. & Proc. Civ. § 1757 (3d ed.).
10
     If the Court ultimately rejects class certification, exercising personal jurisdiction over
     Defendants for non-Oklahoma Plaintiffs’ claims would violate the Fifth and Fourteenth
     Amendments. The Bristol-Myers Court rejected California’s exercise of personal jurisdiction
     over Bristol-Myers for mass tort claims brought by non-California plaintiffs as inconsistent
     with the Fourteenth Amendment’s Due Process Clause. It expressly left open whether the same
     analysis would apply under the Fifth Amendment’s Due Process Clause to mass tort claims
     brought in federal court. 137 S. Ct. at 1783–84. Logic dictates that this Court analyze
     jurisdiction under the Fifth Amendment through the same analytical lens as jurisdiction under
     the Fourteenth Amendment. Otherwise, defendants effectively would be subject to nationwide
     personal jurisdiction for mass antitrust claims with little connection to the chosen venue.
11
     Defendants Sanderson Farms and Koch have filed motions separately moving to dismiss for
     improper venue and lack of personal jurisdiction regardless of whether the Sherman Act claims
     are dismissed.


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                                  CONCLUSION

  For the foregoing reasons, Plaintiffs’ Complaint should be dismissed with prejudice.




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Dated: September 8, 2017       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       On September 8, 2017, I electronically transmitted a true and correct copy of the foregoing
document to the Clerk of Court for filing using the CM/ECF system, which will send notification
of such filing to all counsel of record.

                                                    /s/ John D. Harkrider
                                                    John D. Harkrider
